Case 2:19-cv-13167-BAF-APP ECF No. 54 filed 12/12/19                      PageID.973   Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN

 BURNS & WILCOX, LTD.          §
 A Michigan Corporation        §
                               §
           Plaintiff,          §
                               §
 v.                            §                                 Civil Action No. 2:19-cv-13167
                               §                                 Hon. Bernard A. Friedman
 CRC INSURANCE SERVICES, INC., §
 et al.,                       §
                               §
          Defendants.          §

        DEFENDANT DONALD R. CARSON, SR.’S PARTIAL
   MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

         Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Donald

Richard Carson, Sr. (“Carson, Sr.” or “Defendant”) files this Partial Motion to

Dismiss for Failure to State a Claim, requesting dismissal of Plaintiff Burns &

Wilcox, Ltd.’s (“Plaintiff”) claim for breach of fiduciary duty for failure to state a

claim upon which relief can be granted. In support thereof, Defendant shows as

follows:

         Pursuant to Local Rule 7.1(d), this Motion is accompanied by a single Brief

in Support of its Motion to Dismiss for Failure to State a Claim, filed this same day

and incorporated herein by reference for all purposes.

         WHEREFORE, PREMISES CONSIDERED, Defendant Donald R.

Carson, Sr. requests that Plaintiff Burns & Wilcox, Ltd. breach of fiduciary duty

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claim be dismissed with prejudice, and for such other and further relief to which he

is justly entitled.


                                                          Respectfully submitted,



                                                          _______________________________
                                                          GREGORY M. CLIFT
                                                          State Bar No. 00795835
                                                          Email: clift@RoggeDunnGroup.com

                                                          ROGGE DUNN GROUP, PC
                                                          500 N. Akard, Suite 1900
                                                          Dallas, Texas 75201
                                                          Telephone: (214) 888-5000
                                                          Facsimile: (214) 220-3833


                                                          ATTORNEYS FOR DEFENDANT
                                                          DONALD RICHARD CARSON, SR.




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                                         CERTIFICATE OF SERVICE

           This is to certify that pursuant to the Rules a true and correct copy of the

 foregoing instrument has been served on counsel of record for all parties on
       12 th day of
 this ____

December, 2019.
                                                                 □   VIA OVERNIGHT
 Gerard V. Mantese                                               □   VIA HAND DELIVERY
 Douglas L. Toering                                              □   VIA FIRST CLASS MAIL
 Kenneth R. Chadwell                                             □   VIA FAX:
 MANTESE HONIGMAN, P.C.                                          □   VIA EMAIL:
 1361 E. Big Beaver Road                                         □   VIA CERTIFIED MAIL/RRR
 Troy, MI 48083                                                  X   VIA ECF:

                                                                     ______________________________
                                                                     GREGORY M. CLIFT


                                  CERTIFICATE OF CONFERENCE

       A conference between attorneys or unrepresented parties and other persons
entitled to be heard on the motion in which the movant explained the nature of the
motion or request and its legal basis and requested but did not obtain concurrence
in the relief sought.


                                                                 ____________________________
                                                                 GREGORY M. CLIFT




DEFENDANT’S MOTION TO DISMISS                                                                PAGE 3 OF 3

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